                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re: Primary Providers of Alabama, Inc.        )         Case No.: 18-83207-CRJ-11
                                                 )
       EIN: xx-xxx9960                           )
                                                 )
              Debtor.                            )         CHAPTER 11
                                                 )




                    DEBTOR’S CONSOLIDATED SECOND AMENDED
                           PLAN OF REORGANIZATION




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Dated: September 9, 2019




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                Debtor.                              )          CHAPTER 11
                                                     )

   DEBTOR’S CONSOLIDATED SECOND AMENDED PLAN OF REORGANIZATION

        Primary Providers of Alabama, Inc. (the "Debtor"), as Debtor and Debtor-in-Possession,
proposes this Consolidated Second Amended Plan of Reorganization (the "Plan") pursuant to Section
1121(a) of Title 11 of the United States Code for the resolution of the Debtor’s outstanding creditor
claims and equity interests. Reference is made to the Debtor’s Disclosure Statement (the "Disclosure
Statement") for a discussion of the Debtor’s history, business, properties and results of operations,
and for a summary of this Plan and certain related matters.

        All holders of Claims and Interests are encouraged to read the Plan and the Disclosure
Statement in their entirety before voting to accept or reject this Plan. No materials, other than the
Disclosure Statement and any exhibits and schedules attached thereto or referenced therein, have
been approved by the Debtor for use in soliciting acceptances or rejections of this Plan.

                                            ARTICLE 1
                                           DEFINITIONS
       As used herein, the following terms have the respective meanings specified below, and such
meanings shall be equally applicable to both the singular and plural, and masculine and feminine,
forms of the terms defined. The words "herein," "hereof," "hereto," "hereunder" and others of similar
import, refer to the Plan as a whole and not to any particular section, subsection or clause contained
in the Plan. Captions and headings to articles, sections and exhibits are inserted for convenience of
reference only and are not intended to be part of or to affect the interpretation of the Plan. The rules
of construction set forth in Section 102 of the Bankruptcy Code shall apply. In computing any period
of time prescribed or allowed by the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.
Any capitalized term used but not defined herein shall have the meaning ascribed to such term in the
Bankruptcy Code. In addition to such other terms as are defined in other sections of the Plan, the
following capitalized terms have the following meanings when used in the Plan.




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        1.1     "Administrative Claim" means a Claim for costs and expenses of administration
allowed under Section 503(b) of the Bankruptcy Code and referred to in Section 507(a)(1) of the
Bankruptcy Code.

        1.2     "Allowed Claim" means a Claim that is (a) not a Disputed Claim or (b) a Claim that
has been allowed by a Final Order.

        1.3     "Ballots" means the written Ballots for acceptance or rejection of the Plan.

        1.4     "Bankruptcy Code" or "Code" means Title 11 of the United States Code as now in
effect or hereafter amended.

        1.5     "Bankruptcy Court" means the United States Bankruptcy Court for the Northern
District of Alabama, Northern Division, which presides over this proceeding, or if necessary, the
United States District Court for said District having original jurisdiction over this case.

        1.6     "Bankruptcy Rules" means, collectively (a) the Federal Rules of Bankruptcy
Procedure, and (b) the local rules of the Bankruptcy Court, as applicable from time to time in the
Reorganization Case.

        1.7     "Business Day" means any day, other than a Saturday, Sunday or "legal holiday" (as
defined in Bankruptcy Rule 9006(a)).

        1.8     "Cash" means cash, wire transfer, certified check, cash equivalents and other readily
marketable securities or instruments, including, without limitation, readily marketable direct
obligations of the United States of America, certificates of deposit issued by banks, and commercial
paper of any Person, including interests accrued or earned thereon, or a check from the Debtor.

        1.9     "Claim" means any right to payment from the Debtor arising before the Confirmation
Date, whether or not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent,
matured, unmatured, contested, uncontested, legal, equitable, secured, or unsecured; or any right to
an equitable remedy for breach of performance if such breach gives rise to a right of payment from
the Debtor prior to the Confirmation Date, whether or not such right to an equitable remedy is
reduced to judgment, fixed, contingent, matured, unmatured, contested, uncontested, secured or
unsecured.

        1.10    "Class" means one of the classes of Claims or Interests defined in Article III hereof.

        1.11    "Confirmation" means the entry of a Confirmation Order confirming this Plan at or
after a hearing pursuant to Section 1129 of the Bankruptcy Code.



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       1.12    "Confirmation Date" means the date the Confirmation Order is entered on the docket
of the Bankruptcy Court.

       1.13    "Confirmation Order" means the order entered by the Bankruptcy Court confirming
the Plan pursuant to Section 1129 of the Bankruptcy Code.

       1.14    "Debtor" means Primary Providers of Alabama, Inc.

       1.15    "Disclosure Statement" means the Disclosure Statement filed by the Debtor as
approved by the Bankruptcy Court for submission to the Creditors, interest holders, and parties-in-
interest of the Debtor, as it may have been amended or supplemented from time to time.

       1.16    "Disputed Claim" means a Claim as to which a proof of claim has been Filed or
deemed Filed under applicable law, as to which an objection has been or may be timely Filed and
which objection, if timely Filed, has not been withdrawn on or before any date fixed for Filing such
objections by the Plan or Order of the Bankruptcy Court and has not been overruled or denied by a
Final Order. Prior to the time that an objection has been or may be timely Filed, for the purposes of
this Plan, a Claim shall be considered a Disputed Claim to the extent that: (i) the amount of the Claim
specified in the proof of claim exceeds the amount of any corresponding Claim listed by the Debtor
in their respective Schedules to the extent of such excess; (ii) any corresponding Claim listed by the
Debtor in their respective Schedules has been scheduled as disputed, contingent, or unliquidated,
irrespective of the amount scheduled; or (iii) no corresponding Claim has been listed by the Debtor in
the respective Schedules. Disputed Claims also includes Claims subject to a pending action for
equitable subordination of such Claims.

       1.17    “Distributions" means the properties or interests in property to be paid or distributed
hereunder to the holders of Allowed Claims.

       1.18    “Docket" means the docket in the Reorganization Case maintained by the Clerk.

       1.19    "Effective Date" means the twentieth (20th) business day after an Order confirming
this Plan becomes final and no longer open for appeal, stay or reconsideration in accordance with the
Federal Rules of Bankruptcy Procedure and/or the Federal Rules of Appellate Procedure.

       1.20    "Estate" means the estate created in this Reorganization Case under Section 541 of
the Bankruptcy Code.

       1.21    "Executory Contract" means any unexpired lease and/or executory contract as set
forth in Section 365 of the Code.




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        1.22    "File" or "Filed" means filed with the Bankruptcy Court in the Reorganization Case

        1.23    "Final Order" means an order or judgment of the Bankruptcy Court, or other court of
competent jurisdiction, as entered on the Docket in the Reorganization Case, which has not been
reversed, stayed, modified or amended.

        1.24    "Impaired" as to a Class means the Plan alters the legal, equitable or contractual
rights of a Claim or Interest holder within the meaning of 11 U.S.C. § 1124.

        1.25    "Order" means an order or judgment of the Bankruptcy Court as entered on the
Docket.

        1.26    "Person" means any individual, corporation, general partnership, limited partnership,
association, joint stock company, joint venture, estate, trust, indenture trustee, government or any
political subdivision, governmental unit (as defined in the Bankruptcy Code).

        1.27    "Petition Date" means October 26, 2018, the date on which Debtor filed the voluntary
Chapter 11 petition.

        1.28    "Plan" means this Plan of Reorganization in its present form, or as it may be
amended, modified, and/or supplemented from time to time in accordance with the Bankruptcy Code,
or by agreement of all affected parties, or by order of the Bankruptcy Court, as the case may be.

        1.29    "Pre-Petition Tax Claim" means a Tax Claim that arises prior to the Petition Date.

        1.30    "Priority Claim" means all Claims entitled to priority under 11 U.S.C. §§ 507(a) of
the Bankruptcy Code, other than an Administrative Claim or a Tax Claim.

        1.31    "Pro Rata" means proportionately, based on the percentage of the distribution made
on account of a particular Allowed Claim bears to the distributions made on account of all Allowed
Claims of the Class in which the Allowed Claim is included.

        1.32    "Rejection Claim" means a Claim resulting from the rejection of a lease or executory
contract by the Debtor.

        1.33    "Reorganization Case" means, collectively, the Debtor’s case under Chapter 11 of the
Bankruptcy Code that was commenced on the Petition Date.

        1.34    "Schedules" means the Schedules of Assets and Liabilities, Statement of Financial
Affairs and Statement of Executory Contracts that may be filed by the Debtor with the Bankruptcy
Court, as amended or supplemented on or before the Confirmation Date, listing the liabilities and
assets of the Debtor.


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        1.35     "Secured Claim" means any Claim that is secured by a lien on property in which the
Estate has an interest or that is subject to setoff under Section 553 of the Bankruptcy Code, to the
extent of the value of the Claim holder's interest in the Estate’s interest in such property or to the
extent of the amount subject to setoff, as applicable, as determined pursuant to Section 506(a) of the
Bankruptcy Code.

        1.36     "Security Agreement" means the documentation under which a lien against property
is reflected.

        1.37     "Tax Claim" means either (a) an Unsecured Allowed Claim of a governmental entity
as provided by Section 507(a)(8) of the Code, or (b) an Allowed Claim of a governmental entity
secured by a lien on property of the Debtor under applicable state law.

        1.38     "Unsecured Claim" means any Claim that is not an Administrative Claim, Priority
Claim, Pre-Petition Tax Claim or Secured Claim.


                                      ARTICLE 2
                                    TREATMENT OF
                            ADMINISTRATIVE EXPENSE CLAIMS
                               AND PRIORITY TAX CLAIMS.
        2.1     Administrative Expense Claims.

        Except to the extent that a holder of an Allowed Administrative Expense Claim has been paid
by a Debtor prior to the Effective Date or agrees to less favorable treatment, as provided for by this
Plan, each holder of an Allowed Administrative Expense Claim shall receive Cash from the Debtor
obligated for the payment of such Allowed Administrative Expense Claim in an amount equal to the
Allowed amount of such Administrative Expense Claim on the later of the Effective Date and the
date such Administrative Expense Claim becomes an Allowed Administrative Expense Claim, or as
soon thereafter as is practicable; provided, however, that Allowed Administrative Expense Claims
representing liabilities incurred in the ordinary course of business by a Debtor or other obligations
incurred by such Debtor shall be paid in full and performed by such Debtor in the ordinary course of
business in accordance with the terms and subject to the conditions of any agreements governing,
instruments evidencing, or other documents relating to such transactions.

        2.2     Professional Compensation and Reimbursement Claims.

        Other than a professional retained by the Debtor pursuant to the Ordinary Course
Professional Order, any entity seeking an award of the Bankruptcy Court of compensation for
services rendered and/or reimbursement of expenses incurred on behalf of the Debtor and the


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Creditors’ Committee through and including the Effective Date under Section 105(a), 363(b),
503(b)(2), 503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code shall (a) file its final application
for allowance of such compensation and/or reimbursement by no later than the date that is 120 days
after the Effective Date or such other date as may be fixed by the Bankruptcy Court, and (b) be paid
by or on behalf of the Debtor in full and in Cash in the amounts Allowed upon (i) the date the order
granting such award becomes a Final Order, or as soon thereafter as practicable, or (ii) such other
terms as may be mutually agreed upon by the claimant and the Debtor obligated for the payment of
such Allowed Claim. The Debtor is authorized to pay compensation for professional services
rendered and reimburse expenses incurred on behalf of the Debtor and the Creditors’ Committee
after the Effective Date in the ordinary course and without Bankruptcy Court approval.

        2.3     Priority Tax Claims.

        Except to the extent that a holder of an Allowed Priority Tax Claim has been paid prior to the
Effective Date or agrees to less favorable treatment, each holder of an Allowed Priority Tax Claim
shall receive from one or more of the Debtor(s) obligated for the payment of such Allowed Priority
Tax Claim, and at the sole option of such Debtor(s), (i) Cash in an amount equal to the Allowed
amount of such Priority Tax Claim on the later of the Effective Date and the date such Priority Tax
Claim becomes an Allowed Priority Tax Claim, or as soon thereafter as is practicable, or (ii) equal
Cash payments to be made initially on the Effective Date or as soon thereafter as practicable and
monthly thereafter in an aggregate amount equal to such Allowed Priority Tax Claim, together with
interest at a fixed annual rate, over a period from the Effective Date through the fifth (5th)
anniversary after the Commencement Date; provided, however, that such election shall be without
prejudice to the Debtor’s right to prepay such Allowed Priority Tax Claim in full or in part without
penalty.


                                           ARTICLE 3
                                        DESIGNATION OF
                                     CLAIMS AND INTERESTS
                3.1     The following is a designation of the classes of Claims and Interests under
this Plan. In accordance with Section 1123(a)(1) of the Bankruptcy Code, Claims that are not
impaired have been noted and will not vote on the Plan. A Claim or Interest is classified in a
particular class only to the extent that the Claim or Interest qualifies within the description of that
class, and is classified in another class or classes to the extent that any remainder of the Claim or
Interest qualifies within the description of such other class or classes. A Claim or Interest is classified
in a particular class only to the extent that the Claim or Interest is an Allowed Claim or Allowed



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Interest in that class and has not been paid, released or otherwise satisfied before the Effective Date;
a Claim or Interest which is not an Allowed Claim or Interest is not in any Class. Notwithstanding
anything to the contrary contained in this Plan, no distribution shall be made on account of any Claim
or Interest that is not an Allowed Claim.

        Class                   Impairment            Treatment


                                                      The creditor in this class will be paid in full its
                                                      approved claim amount over the course of a 96-
                                                      month term with interest accruing at the
      Class 1 –            Claims ## 12 & 13          contractually agreed rate of 4.25%, with a
   Secured Claim        (collectively $69,084.90) standard amortization schedule for the term.
  ServisFirst Bank              Impaired              Except as otherwise provided, this creditor will
                                                      retain all security interests in any collateral.
                                                      New payments will begin on the Effective
                                                      Date.



                                                      The creditor in this class will be paid in full
                                                      their approved claim amount over the course of
                                                      a 60-month term with interest accruing at the
                                                      rate of Prime on the Effective date, as
      Class 2 –
                                                      published in the Wall Street Journal, (5.50% as
   Secured Claim          Claim # 5 ($2,257.71)
                                                      of March 5, 2019), with a standard amortization
  Lynda Hall, Tax               Impaired
                                                      schedule for the term. Except as otherwise
      Collector
                                                      provided, this creditor will retain all security
                                                      interests in any collateral. New payments will
                                                      begin on the Effective Date. (Estimated
                                                      monthly payment of $43.12).



      Class 3 –            Claims ## 10 & 11          The secured status of the creditor in this Class
  Disputed Secured             (collectively          is disputed. The Debtor expects this Class to be
       Claim                  $417,801.50)            extinguished and the claims of creditor
 BancorpSouth Bank              Impaired              BancorpSouth Bank to be recharacterized as



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                                             unsecured claims belonging in Class 5.
                                             However, to the extent any potion of creditor
                                             BancorpSouth Bank’s allowed claim remains
                                             secured for value in the property of the
                                             Debtor’s estate, creditor BancorpSouth Bank
                                             will be allowed a claim secured for the allowed
                                             amount in Class 3.


                                             The creditor in this class will be paid in full its
                                             approved claim amount over the course of an
                                             84-month term with interest accruing at the
                                             contractually agreed rate of 4.00% (Claim 11-
                                             1), with a standard amortization schedule for
                                             the term. Except as otherwise provided, this
                                             creditor will retain all security interests in any
                                             collateral. New payments will not begin until
                                             after the Bankruptcy Court has entered a final
                                             order determining the amount of this creditor’s
                                             allowed secured claims, or on the Effective
                                             Date, whichever is later. (Estimated monthly
                                             payment of $0.00).



                                             To the extent the Debtor cannot pay the
                                             Claimants in this class in full within 120 days
     Class 4 –                               of the Effective Date, and to the extent that that
   Administrative                            the Claimants in this class consent to such
     Claims of      Impaired, Not Entitled to treatment, the Debtor will begin making
   Professionals            Vote             monthly payments of $1,000.00, split on a pro-
  Employed by the                            rata basis between all Claimants in this Class
      Debtor                                 on their approved claim amounts, until the total
                                             allowed claims in this class are paid in full.
                                             Payments to Claimants in this class will not
                                             begin until after the Bankruptcy Court has




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                                                     entered a final order approving these Claimant
                                                     fees and expenses, or on the Effective Date,
                                                     whichever    is   later.   (Estimated      monthly
                                                     payment of $1,000.00, split pro rata).



                                                     The creditor in this class will be paid in full is
                         Claims ## 1 & 17            approved claim amount over the course of a 60-
     Class 5 –
                         (priority portion)          month term with interest accruing at the rate of
 Unsecured Priority
                      (collectively $20,417.43) 5.00%, with a standard amortization schedule
    Tax Claims
                      Impaired, Not Entitled to for the term. New payments will begin on the
        IRS
                               Vote                  Effective Date. (Estimated monthly payment of
                                                     $438.03).



                                                     Beginning on the Effective Date, the Debtor
                                                     will commence monthly payments of $500.00,
                                                     split on a pro-rata basis between all creditors in
                      Claims ## 3, 4, 6, 7, 8, 9
                                                     this Class on their approved claim amounts,
                      14, 15, 16 and 17 (general
                                                     until the sum of 5% of the total allowed claims
                         unsecured portion)
                                                     in this class are paid, in addition to interest
                           ($519,465.66),
                                                     accruing at the federal post-judgment interest
                                  +
                                                     rate, as determined by 28 U.S.C. § 1961 (the
     Class 6 –          Claims ## 10 & 11
                                                     “Interest Rate”). The Interest Rate with be
 General Unsecured          (collectively
                                                     fixed to the statutory amount of interest on the
      Claims            $417,801.50; these
                                                     date of confirmation for the term of the Plan
                         secured claims are
                                                     payments to creditors in this class. Interest will
                           expected to be
                                                     accrue on only on the amounts paid pursuant to
                      recategorized as wholly
                                                     the plan, not the overall claim amounts.
                         unsecured claims.
                              Impaired
                                                     Upon satisfaction of the above payment term,
                                                     any remaining balance on the claims in this
                                                     Class will be forever discharged. Payments to
                                                     creditors whose claims are disputed will not




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                                                       begin until after the Bankruptcy Court has
                                                       entered a final order determining the amount of
                                                       the disputed creditors’ allowed claim, or on the
                                                       Effective Date, whichever is later. Payments to
                                                       creditors in this class are estimated to last for a
                                                       term of 88-94 months (Estimated monthly
                                                       payment of $500.00, split pro rata).



                                                       Equity interest holders will retain their
                                                       membership interests in Debtor and, in order to
        Class 7 –
                                                       comply with the new value exception to the
 Interests of Equity             Impaired;
                                                       absolute priority rule, will contribute the sum
 Interest Holders in       Not Entitled to Vote
                                                       of $1,000.00 to the Debtor entity by or before
         Debtor
                                                       the Plan’s Effective Date.




                                       ARTICLE 4
                             CLASSIFICATION AND TREATMENT
                                OF CLAIMS AND INTERESTS

         Class 1 – Secured Claim

                    a.   Classification:

         Class 1 consists of the secured claims of the ServisFirst Bank (proofs of claim ## 12 &
13).

                    b.   Treatment:

         Class 1 is impaired and, accordingly, the member of Class 1 is entitled to vote on the
Plan.

         The creditor in this class will be paid in full its approved claim amounts over the course
of a 96-month term with interest accruing at the contractually agreed rate of 4.25%, with a
standard amortization schedule for the term.




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        This creditor will retain all security interests in any collateral. New payments will begin
on the Effective Date. Upon full payment of the allowed claims in this class, the claimant’s
secured interest in the Debtor’s property will be immediately discharged and all liens released.

        With respect to any non-debtor third parties or the Exculpated Persons, confirmation of
this Plan by itself will not release any liabilities, obligations, guarantees or other claims
ServisFirst Bank may possess against those parties. The Plan only modifies this creditor’s
contractual agreement with the Debtor.

        After confirmation of the Plan, should the Debtor default on its obligations to the holders
of claims in this class (and following adherence to the notice and cure provisions of Plan Section
9.7), ServisFirst Bank may proceed accordingly with any legal rights available under applicable
law without further order or relief from the Bankruptcy Court.

        Class 2 – Secured Claim

                a.      Classification:

        Class 2 consists of the secured claim of the Lynda Hall, Tax Collector.

                b.      Treatment:

        Class 2 is impaired and, accordingly, the member of Class 2 is entitled to vote on the Plan.

        The creditor in this class will be paid in full its approved claim amount over the course of a
60-month term with interest accruing at the rate of Prime on the Effective date, as published in the
Wall Street Journal, (5.50% as of March 5, 2019), with a standard amortization schedule for the
term. Except as otherwise provided, this creditor will retain all security interests in any collateral.
New payments will begin on the Effective Date. Upon full payment of the allowed claim in this
Class, the claimant’s secured interest in the Debtor’s property will be immediately discharged. The
creditor in this class will immediately release all liens, certificates of judgments, or any other claims
to the Debtor’s property. (Estimated monthly payment of $43.12).

        Class 3 – Disputed Secured Claim
                a.      Classification:

        Class 3 consists of the disputed secured claim of BancorpSouth Bank.




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                b.      Treatment:

        If the secured claim in Class 3 is not extinguished prior to the Plan Voting Deadline ordered
by the Bankruptcy Court, then Class 3 is impaired and, accordingly, the member of Class 3 is entitled
to vote on the Plan.

        The secured status of the creditor in this Class is disputed. The Debtor expects this Class to
be extinguished and the claims of creditor BancorpSouth Bank to be recharacterized as unsecured
claims belonging in Class 5. However, to the extent any potion of creditor BancorpSouth Bank’s
allowed claim remains secured for value in the property of the Debtor’s estate, creditor
BancorpSouth Bank will be allowed a claim secured for the allowed amount in Class 3.

        The creditor in this class will be paid in full its approved claim amount over the course of an
120-month term with interest accruing at the contractually agreed rate of 4.00% (Claim 11-1), with a
standard amortization schedule for the term. Except as otherwise provided, this creditor will retain all
security interests in any collateral. New payments will not begin until after the Bankruptcy Court has
entered a final order determining the amount of this creditor’s allowed secured claims, or on the
Effective Date, whichever is later. Upon full payment of the allowed claim in this Class, the
claimant’s secured interest in the Debtor’s property will be immediately discharged. The creditor in
this class will immediately release all liens, certificates of judgments, or any other claims to the
Debtor’s property. (Estimated monthly payment of $0.00).

        Class 4 – Administrative Claims

                a.      Classification:

        Class 4 consists of Administrative Claims of Professionals employed by the Debtor.

                b.      Treatment:

        Class 4 is impaired but not entitled to vote on the Plan.

        To the extent the Debtor cannot pay the claimants in this Class in full within 120 days of the
Effective Date, and to the extent that that the claimants consent to such treatment, the Debtor will
begin making monthly payments of $1,000.00, split on a pro-rata basis between all claimants on
their approved claim amounts until the total allowed claims in this class are paid in full. Payments to
claimants in this class will not begin until after the Bankruptcy Court has entered a final order
approving these claimant fees and expenses. (Estimated monthly payment of $1,000.00, total).




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        Class 5 –Priority Unsecured Tax Claims

                   a.   Classification:

        Class 5 consists of the priority unsecured tax claims. The member of this Class is not entitled
to vote on the Plan.

                   b.   Treatment:

        The creditor in this class will be paid in full is approved claim amount over the course of a
60-month term with interest accruing at the rate of 5.00%, with a standard amortization schedule for
the term. New payments will begin on the Effective Date. (Estimated monthly payment of
$438.03).

        Class 6 – General Unsecured Claims

                   a.   Classification:

        Class 6 consists of all non-priority, unsecured claims not addressed in the previous classes
described above. Class 6 is impaired and, accordingly, the members of Class 6 are entitled to vote on
the Plan.

                   b.   Treatment:

        Class 6 is impaired and, accordingly, the holders of Allowed Claims in this class are entitled
to vote on the Plan.

        Beginning on the Effective Date, Debtor will begin making monthly payments of $500.00,
split on a pro-rata basis between all creditors in this Class on their approved claim amounts, until
the sum of 5% of the total allowed claims in this class are paid, in addition to interest accruing at the
federal post-judgment interest rate, as determined by 28 U.S.C. § 1961 (the “Interest Rate”). The
Interest Rate with be fixed to the statutory amount of interest on the date of confirmation for the term
of the Plan payments to creditors in this class. Interest will accrue on only on the amounts paid
pursuant to the plan, not the overall claim amounts.

        Upon satisfaction of the above payment term, any remaining balance on the claims in this
Class will be forever discharged. Payments to creditors whose claims are disputed will not begin
until after the Bankruptcy Court has entered a final order determining the amount of the disputed
creditors’ allowed claim, or on the Effective Date, whichever is later. Payments to creditors in this
class are estimated to last for a term of 88-94 months (Estimated monthly payment of $500.00,
split pro rata).


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        Class 7 – Interests of Equity Interest Holders in Debtor

                a.      Classification:

        Class 7 is impaired but the member of this Class is an insider of the Debtor who is not
entitled to vote on the Plan.

                b.      Treatment:

        Equity interest holders will retain their membership interests in the Debtor and, in order to
comply with the new value exception to the absolute priority rule, will contribute the sum of
$1,000.00 to the Debtor entity by the Plan’s Effective Date.


                                    ARTICLE 5
                         ACCEPTANCE OR REJECTION OF THE PLAN

        5.1     The holders of Claims in all impaired Classes entitled to vote and listed above may
vote to accept or reject the Plan.



                                        ARTICLE 6
                                 MEANS FOR EXECUTION AND
                                IMPLEMENTATION OF THE PLAN

        6.1     Funding of the Distribution. On the Effective Date, the Debtor shall first fund
payments to the holders of Allowed Administrative Claims.

        6.2     Authorization to Take Necessary and Appropriate Actions to Effectuate Plan. On the
Effective Date, the Debtor shall be authorized and directed to take all necessary and appropriate
actions to effectuate the transactions contemplated by the Plan and Disclosure Statement.

        6.3     Preservation of Rights of Action. Except as otherwise provided in the Plan, or in any
contract, instrument, release, or other agreement entered into in connection with the Plan in
accordance with Section 1123(b) of the Bankruptcy Code, the Debtor shall retain and may enforce
any claims, rights and causes of action that the Debtor or the Estates may hold against any entity,
including, without limitation, any claims, rights or causes of action arising under Sections 544
through 551 or other sections of the Bankruptcy Code or any similar provisions of state law, or any
other statute or legal theory. The Debtor or any successor to or designee thereof may pursue those
rights of action, as appropriate, in accordance with what is in the best interests of the Debtor.




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        6.4     Except as otherwise provided for with respect to applications of professionals for
compensation and reimbursement of expenses under Article 3 of the Plan, or as otherwise ordered by
the Bankruptcy Court after notice and a hearing, objections by any party other than the Debtor to
filed Claims shall be Filed and served upon the holder of such Claim or Administrative Claim not
later than the Effective Date, unless this period is extended by the Court. Such extension may occur
ex parte. After the Effective Date, only the Debtor shall have the exclusive right to object to Claims.


                                    ARTICLE 7
                    FUNDING AND METHODS OF DISTRIBUTION AND
                  PROVISIONS FOR TREATMENT OF DISPUTED CLAIMS

        7.1     The Debtor’s normal cash flow shall be the primary source of funds for the payments
to creditors authorized by the U.S. Bankruptcy Court’s confirmation of this Plan. The Debtor
reserves the right to sell collateral for the purpose of providing some funding for the Plan as the
Debtor deems necessary. Any funds that the debtor receives as “new value” under 11 U.S.C. § 1129
shall also be applied to the Plan payments to creditors.

        7.2     Cash Distributions. All Cash distributions made pursuant to the Plan shall be made by
the Debtor from the Chapter 11 estate. Any such payments may be made either by check or wire
transfer, at the option of the payor.

        7.3     Distribution Procedures. Except as otherwise provided in the Plan, all distributions of
Cash and other property shall be made by the Debtor on the later of the Effective Date or the date on
which such Claim is Allowed, or as soon thereafter as practicable. Distributions required to be made
on a particular date shall be deemed to have been made on such date if actually made on such date or
as soon thereafter as practicable. No payments or other distributions of property shall be made on
account of any Claim or portion thereof unless and until such Claim or portion thereof is allowed.

        7.4     Distributions to Holders of Allowed Administrative Expense Claims. Commencing
on the Effective Date, the Debtor shall, in accordance with Article 3 of the Plan, distribute to each
holder of a then unpaid Allowed Administrative Expense Claim in the Allowed amount of such
holder's Claim if and to the extent that the balance, if any, of such Claims is Allowed by Final Order.
The Debtor shall not tender a payment to the holders of Allowed Administrative Expense Claims
until all Disputed Claims that are alleged to be Administrative Claims have been allowed or
disallowed.




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       7.5     Disputed Claims. Notwithstanding any other provisions of the Plan, no payments or
distributions shall be made on account of any Disputed Claim until such Claim becomes an Allowed
Claim, and then only to the extent that it becomes an Allowed Claim.

       7.6     Delivery of Distributions and Undeliverable or Unclaimed Distributions.

               (a)     Delivery of Distributions in General.

       Distributions to holders of Allowed Claims shall be distributed by mail as follows: (1) at the
addresses set forth on the respective proofs of claim filed by such holders; (2) at the addresses set
forth in any written notices of address changes delivered to the Debtor after the date of any related
proof of claim; or (3) at the address reflected on the Schedule of Assets and Liabilities filed by the
Debtor if no proof of claim or proof of interest is Filed and the Debtor has not received a written
notice of a change of address.

               (b)     Undeliverable Distributions.

                       (i) Holding and Investment of Undeliverable Property. If the distribution to
                       the holder of any Claim is returned to the Debtor as undeliverable, no further
                       distribution shall be made to such holder unless and until the Debtor is
                       notified in writing of such holder's then current address. Unclaimed Cash
                       shall be held in trust in a segregated bank account in the name of the Debtor,
                       for the benefit of the potential claimants of such funds, and shall be accounted
                       for separately.

                       (ii) Distribution of Undeliverable Property After it Becomes Deliverable and
                       Failure to Claim Undeliverable Property. Any holder of an Allowed Claim
                       who does not assert a claim for an undeliverable distribution held by the
                       Debtor within two years after the Effective Date shall no longer have any
                       claim to or interest in such undeliverable distribution, and shall be forever
                       barred from receiving any distributions under this Plan. In such cases, any
                       cash or securities held for distribution on account of such Claims shall
                       become property of the Debtor.

       7.7     Failure to Negotiate Checks. Checks issued in respect of distributions to holders of
Allowed Claims under the Plan shall be null and void if not negotiated within sixty (60) days after
the date of issuance. The Debtor shall hold any amounts returned to the Debtor in respect of such
checks. Requests for reissuance of any such check may be made directly to the Debtor by the holder
of the Allowed Claim with respect to which such check originally was issued. Any claim in respect


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of such voided check is required to be made within six months of the original issuance date of the
check. Thereafter, all amounts represented by any voided check shall become unrestricted funds of
the Debtor. All Claims in respect of void checks and the underlying distributions shall be discharged
and forever barred from an assertion against the Debtor and its property.

        7.8     Compliance with Tax Requirements. In connection with the Plan, to the extent
applicable, the Debtor shall comply with all withholding and reporting requirements imposed on
them by any governmental unit, and all distributions pursuant to the Plan shall be subject to such
withholding and reporting requirements.

         7.9    Setoffs. Unless otherwise provided in a Final Order or in this Plan, the Debtor may,
but shall not be required to, set off against any Claim and the payments to be made pursuant to the
Plan in respect of such Claim, any claims of any nature whatsoever the Debtor may have against the
holder thereof or its predecessor, but neither the failure to do so nor the allowance of any Claim
hereunder shall constitute a waiver or release by the Debtor of any such Claims the Debtor may have
against such holder or its predecessor.


                                     ARTICLE 8
                         TREATMENT OF EXECUTORY CONTRACTS
                               AND UNEXPIRED LEASES
        8.1     Rejection of All Executory Contracts and Leases Not Assumed. The Plan constitutes
and incorporates a motion by the Debtor to reject, as of the Effective Date, all pre-petition executory
contracts and unexpired leases to which the Debtor are parties, except for any executory contract or
unexpired lease that (i) has been assumed or rejected pursuant to a Final Order, or (ii) is the subject
of a pending motion for authority to assume the contract or lease Filed by the Debtor prior to the
Confirmation Date. The Plan establishes a bar date for filing Rejection Claims not already barred.

        8.2     Bar Date for Filing of Rejection Claims. Any Claim for damages arising from the
rejection under this Plan of an executory contract or unexpired lease that was not subject to an earlier
bar date must be Filed within thirty (30) days after the mailing of notice of Confirmation or be
forever barred and unenforceable against the Debtor, the Estates, any of their affiliates and their
properties and barred from receiving any distribution under this Plan.


                                       ARTICLE 9
                             EFFECTS OF PLAN CONFIRMATION

        9.1     No Liability for Solicitation or Participation. As specified in section 1125(e) of the
Bankruptcy Code, Persons that solicit acceptances or rejections of the Plan and/or that participate in


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the offer, issuance, sale, or purchase of securities offered or sold under the Plan, in good faith and in
compliance with the applicable provisions of the Bankruptcy Code, are not liable, on account of such
solicitation or participation, for violation of any applicable law, rule, or regulation governing the
solicitation of acceptances or rejections of the Plan or the offer, issuance, sale, or purchase of
securities.

        9.2     Limitation of Liability. Neither the Debtor and any professional Persons retained by
them; any of their affiliates nor any of their officers, directors, partners, associates, employees,
members or agents (collectively the "Exculpated Persons"), shall have or incur any liability to any
Person for any act taken or omission made in good faith in connection with or related to the
Bankruptcy Case or actions taken therein, including negotiating, formulating, implementing,
confirming or consummating the Plan, the Disclosure Statement, or any contract, instrument, or other
agreement or document created in connection with the Plan. The Exculpated Persons shall have no
liability to any Creditors or Equity Security Holders for actions taken under the Plan, in connection
therewith or with respect thereto in good faith, including, without limitation, failure to obtain
Confirmation of the Plan or to satisfy any condition or conditions, or refusal to waive any condition
or conditions, precedent to Confirmation or to the occurrence of the Effective Date. Further, the
Exculpated Persons will not have or incur any liability to any holder of a Claim, holder of an Interest,
or party-in-interest herein or any other Person for any act or omission in connection with or arising
out of their administration of the Plan or the property to be distributed under the Plan, except for
gross negligence or willful misconduct as finally determined by the Bankruptcy Court, and in all
respects such persons will be entitled to rely upon the advice of counsel with respect to their duties
and responsibilities under the Plan.

        9.3     Other Documents and Actions. The Debtor as Debtor-In-Possession may execute
such documents and take such other action as is necessary to effectuate the transactions provided for
in the Plan.

        9.4     Unless otherwise provided, all injunctions or stays provided for in the Reorganization
Case pursuant to Sections 105 or 362 of the Bankruptcy Code or otherwise and in effect on the
Confirmation Date shall remain in full force and effect until the Effective Date.

        So long as the Debtor’s Chapter 11 case is not dismissed, the protections afforded it by 11
U.S.C. § 362 will remain in full effect to stay all collection actions of any pre-petition debts, claims,
liens, or other related occurrences against the Debtor, the bankruptcy estate, or property of the
bankruptcy estate for the pendency of its Chapter 11 Plan.




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       9.6.    Stay on Governmental Units from Engaging in any Collection Action Against any
Responsible Persons During the Pendency of the Plan. Unless otherwise provided, all Governmental
Units, as defined by the Bankruptcy Code, are stayed from engaging in any collection action of any
nature against any employee, owner, manager, director, or principal of the Debtor relating to or
arising from a tax liability of the Debtor which is concurrently or jointly assessed against any
employee, owner, manager, director, or principal of the Debtor.

       This section applies to any non-debtors deemed a “responsible person” and assessed the Trust
Fund Recovery Penalty from a tax due arising from or due and owed by the Debtor in the ordinary
course of operating its business. All Governmental Units must first look to the Debtor for satisfaction
of any such tax debts and then may only take collection action against any responsible person if the
Debtor’s Chapter 11 case has been dismissed by the Bankruptcy Court, the Debtor’s Plan fails to
provider for satisfaction of the amounts to which any non-debtor is jointly responsible, or the Debtor
has failed to cure any Plan default to that Governmental Unit, as described in the Section 9.7.

       9.7     Default and Opportunity to Cure.

       During the pendency of this Plan, should any party-in-interest aver that the Debtor has
materially defaulted to any of its obligations under this Plan, such party must give written
notice of the default to the Debtor and the Debtor’s Counsel listed below. The Debtor will have
21 days from receipt of the notice to cure any such default. If the Debtor fails to cure within
this 21-day deadline, the party giving notice of the default may proceed accordingly with any
legal rights available under applicable law.

                                   ARTICLE 10
                      CONFIRMABILITY OF PLAN AND CRAMDOWN
       10.1    Confirmability. In order to confirm the Plan, the Bankruptcy Code requires that the
Court make a series of findings concerning the Plan and the Debtor.

               a.      Best Interests Test/Liquidation Analysis.

       Notwithstanding the acceptance of the Plan by each Impaired Class, Section 1129(a)(7) of the
Bankruptcy Code requires that the Bankruptcy Court determine that the Plan is in the best interests of
each holder of a Claim or Interest in an Impaired Class if any holder in that Class has voted against
the Plan. Accordingly, if an Impaired Class under the Plan does not unanimously accept that Plan, the
"best interests" test requires that the Bankruptcy Court find that the Plan provides to each member of
such Impaired Class a recovery on account of the member's Claim or Interest that has a value, as of
the Effective Date, that is not less than the value of the distribution that each such member would


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receive or retain if Debtor were liquidated under Chapter 7 of the Bankruptcy Code commencing on
the Effective Date.

        To determine what members of each impaired Class of Claims would receive if the Debtor’s
estate was liquidated under Chapter 7, the Court must consider the values that would be generated
from a liquidation of the Debtor’s assets and properties in the context of a hypothetical liquidation
under Chapter 7. From a review of the Debtor’s assets and liabilities, it is apparent that liquidation
would not be a feasible solution to the repayment of these Debtor’s debts.

        There are no long-term accounts receivables or residuary contact rights. Accordingly, a
Chapter 7 Trustee would need to liquidate the Debtor’s assets. It is highly likely that unsecured
priority creditors would receive only partial satisfactions of their claims and general unsecured
creditors would receive no distribution in a Chapter 7 liquidation of the Debtor’s estate.

        Thus, this Plan, which provides for the payment of secured and priority claims, retention of
the Debtor’s property, and provides a distribution to general unsecured creditors, is a superior option
to a Chapter 7 liquidation.

                b.      Feasibility.

        Section 1129(a)(11) of the Bankruptcy Code requires a finding that Confirmation of the Plan
is not likely to be followed by liquidation, or the need for further financial reorganization, of the
Debtor unless liquidation is expressly contemplated by the Plan. A review of the Debtor’s proposed
Plan payments and disposable income establish that the Plan is feasible within the meaning of
Section 1129(a)(11) of the Bankruptcy Code.
        The Debtor closed its second medical-practice location in 2018 and still has personnel on its
payroll that assist with the integration of the two practice locations into the one clinic presently
operating. The Debtor expects to encounter staffing redundancies in the months following
confirmation of its Plan; as the Debtor collects its outstanding accounts receivable related to the
second location and streamlines its existing medical billing expenses, it believes that it may lay-off
and/or cut hours for support staff, making the business more profitable. Additionally, the Debtor set a
marketing budget that it expects to increase the business’s visibility to potential customers, and the
Debtor expects to see growth in its gross-revenue over the coming months. Profits from cost-cutting
are expected to level out during the year 2020 as revenue and personnel costs become stable.

        The Debtor expects its business to become both profitable and its revenues predictable
following confirmation of its Plan. For the foreseeable period to come following confirmation of its




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Plan, the Debtor projects steady revenue and expenses. The details of this case strongly support the
feasibility of the proposed Plan.

                c.      Classification.

        Section 1122 of the Bankruptcy Code sets forth the requirements relating to classification of
claims. Section 1122(a) provides that claims or interest may be placed in a particular class only if
they are substantially similar to the other claims or interest in that class. The Debtor believes that all
Classes under the Plan satisfy the requirements of Section 1122(a). The Debtor believes that the
classification of Claims set forth in the Plan is appropriate in classifying substantially similar Claims
together, and does not discriminate unfairly in the treatment of those Classes. The Debtor believes
that the Plan adheres to the absolute priority rule and treats holders of Claims and Interests in
accordance with their contractual entitlement and applicable law.
        10.2    Non-Consensual Confirmation.
        The Bankruptcy Code provides for confirmation of the Plan even if it is not accepted by all
impaired Classes, as long as at least one impaired Class of Claims has accepted it (without counting
the acceptances of insiders). These so-called "cramdown" provisions are set forth in Section 1129(b)
of the Bankruptcy Code. The Plan may be confirmed under the cramdown provisions if, in addition
to satisfying the other requirements of Section 1129 of the Bankruptcy Code, it (i) is "fair and
equitable" and (ii) "does not discriminate unfairly" with respect to each Class of Claims or Interests
that is impaired under, and has not accepted, such Plan.

        1.      Fair and Equitable Standard.

        With respect to a dissenting Class of unsecured creditors, the "fair and equitable" standard
requires, among other things, that the Plan contain one of two elements. It must provide either that
each unsecured creditor in the Class receive or retain property having a value, as of the Effective
Date, equal to the Allowed amount of its Claim, or that no holder of Allowed Claims or Interests in
any junior Class may receive or retain any property on account of such Claims or Interest. The strict
requirements as to the allocation of full value to dissenting Classes before junior Classes can receive
a distribution are known as the "absolute priority rule." In addition, the "fair and equitable" standard
has also been interpreted to prohibit any class senior to a dissenting class from receiving under a plan
more than one hundred percent (100%) of its Allowed Claims.

        2.      The Plan Must Not Discriminate Unfairly.

        As a further condition to approving a cramdown, the Bankruptcy Court must find that the
Plan does not "discriminate unfairly" in its treatment of dissenting Classes. A Plan of Reorganization



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does not "discriminate unfairly" if (a) the Plan does not treat any dissenting impaired Class of Claims
or Interests in a manner that is materially less favorable than the treatment afforded to another Class
with similar legal Claims against or Interests in the Debtor and (b) no Class receives payments in
excess of that which it is legally entitled to receive for its Claims or Interests. The Debtor believes
that the Plan does not discriminate unfairly as to any impaired Class of Claims or Interests.
        If any impaired Class of Claims entitled to vote on the Plan does not accept the Plan by the
requisite majority provided in Section 1126(c) of the Bankruptcy Code, the Debtor reserves the right
to amend the Plan or undertake to have the Bankruptcy Court confirm the Plan under Section 1129(b)
of the Bankruptcy Code or both. With respect to impaired Classes of Claims or Equity Interests that
are deemed to reject the Plan, the Debtor will request that the Bankruptcy Court confirm the Plan
pursuant to Section 1129(b) of the Bankruptcy Code.

        3.      The Absolute Priority Rule and New Value to be Contributed.

        The leading decision on the absolute priority rule is Bank of America National Trust and
Savings Association v. 203 North LaSalle Street Partnership, 526 U.S. 434, 442, 119 S.Ct. 1411,
1416, 143 L.Ed.2d 607 (1999), in which the U.S. Supreme Court held that the debtor’s pre-
bankruptcy equity holders could not, over the objection of a senior class of impaired creditors,
contribute new capital to retain ownership interests in the new entity, when that opportunity was
given exclusively to the old equity holders without consideration of alternatives or market
valuation. Id. at 437, 119 S.Ct. at 1414.
        Since the North LaSalle decision, a number of federal courts have held that a plan of
reorganization must:

        1. Allow for competing plans; and
        2.   Subject the opportunity to own the reorganized company to a “market place” test by
             allowing others to bid.

Cf. In re Global Ocean Carriers Ltd., 251 B.R. 31 (Bankr. De. 2000); In re Situation Management
Systems, Inc., 252 B.R. 859 (Bankr. Mass. 2000). In the present case, the exclusivity period for filing
competing plans has passed. Thus, it is not necessary for the Debtor’s Plan to specify that competing
plans are allowed.
        Should the new value exception to the absolute priority rule apply this case, in order to
comply with the “market place” test, the Debtor will advertise the opportunity to purchase the Debtor
in at least two newspapers of general circulation in Alabama and at least two trade publications with
circulation outside of Alabama.




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        The equity security holder’s offer of $1,000.00 as new value is based upon the following: the
Debtor is currently insolvent, based on the liquidation analysis in the Disclosure Statement, should
the Debtor liquidate, allowed general unsecured creditors could expect a payout of less than 3% of
their allowed claims; no property or residual interests would remain following liquidation; and equity
security holders would expect to receive no return from the liquidation. Further, the Debtor projects
to remain insolvent until the completion of its payment plan in its the Plan of Reorganization. The
Debtor does not expect to make any member distributions during the payment plan period. Thus, any
purchaser of the Debtor’s equity secured interest bears the possibility that its security interest will
have no value until several years after the Effective Date. While the Debtor proposes its Plan of
Reorganization in good-faith and believes that it can successfully reorganize, there is substantial risk
in any business investment for equity-security holders, especially for an insolvent company
attempting to reorganize.
        Should parties other than the equity security holders desire to submit competing offers to
purchase the Debtor company, those offers shall be submitted to the Court by or before a deadline to
be established and noticed to all parties-in-interest to this case. The Court will then hold a hearing to
determine the terms, conditions, and bidding procedures of an auction to purchase the Debtor
company.


                                        ARTICLE 11
                                 RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order or the occurrence of the Effective Date,
the Bankruptcy Court shall retain such jurisdiction over the Reorganization Case after the Effective
Date as is legally permissible, including, without limitation, jurisdiction to:

        11.1    Allow, disallow, determine, liquidate, classify or establish the priority or secured or
unsecured status of or estimate any Claim or Interest, including, without limitation, the resolution of
any request for payment of any Administrative Claim or Indenture Trustee expenses and the
resolution of any and all objections to the allowance or priority of Claims or Interests;

        11.2    Grant or deny any and all applications for allowance of compensation or
reimbursement of expenses authorized pursuant to the Bankruptcy Code or the Plan, for periods
ending on or before the Effective Date;

        11.3    Resolve any motions pending on the Effective Date to assume, assign or reject any
executory contract or unexpired lease to which the Debtor is a party or with respect to which the
Debtor may be liable and to hear, determine and, if necessary, liquidate, any and all Claims arising
there from;


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        11.4    Ensure that distributions to holders of Allowed Claims and Allowed Interests are
accomplished pursuant to the provisions of the Plan;

        11.5    Decide or resolve any and all applications, motions, adversary proceedings, contested
or litigated matters and any other matters or grant or deny any applications involving the Debtor that
may be pending on the Effective Date;

        11.6    Enter such Orders as may be necessary or appropriate to implement or        consummate
the provisions of the Plan and all contracts, instruments, releases, and other agreements or documents
created in connection with the Plan or the Disclosure Statement;

        11.7    Resolve any and all controversies, suits or issues that may arise in connection with
the consummation, interpretation or enforcement of the Plan or any entity's obligations incurred in
connection with the Plan, including the provisions of Article 9 hereof;

        11.8    Modify the Plan before or after the Effective Date pursuant to Section 1127 of the
Bankruptcy Code, or to modify the Disclosure Statement or any contract, instrument, release, or
other agreement or document created in connection with the Plan or the Disclosure Statement; or
remedy any defect or omission or reconcile any inconsistency in any Bankruptcy Court Order, the
Plan, the Disclosure Statement or any contract, instrument, release, or other agreement or document
created in connection with the Plan or the Disclosure Statement, in such manner as may be necessary
or appropriate to consummate the Plan, to the extent authorized by the Bankruptcy Code;

        11.9    Issue injunctions, enter and implement other orders or take such other actions as may
be necessary or appropriate to restrain interference by any entity with consummation or enforcement
of the Plan;

        11.10 Enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked or vacated;

        11.11 Determine any other matters that may arise in connection with or relate to the Plan,
the Disclosure Statement, the Confirmation Order or any contract, instrument, release, or other
agreement or document created in connection with the Plan or the Disclosure Statement; and

        11.12 Enter an order concluding the Reorganization Case.

        If the Bankruptcy Court abstains from exercising jurisdiction or is otherwise without
jurisdiction over any matter arising out of the Reorganization Case, including, without limitation, the
matters set forth in this Article, this Article shall have no effect upon and shall not control, prohibit,




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or limit the exercise of jurisdiction by any other court having competent jurisdiction with respect to
such matter.


                                        ARTICLE 12
                                 MISCELLANEOUS PROVISIONS

        12.1    Fractional Dollars. Any other provision of the Plan notwithstanding, no payments of
fractions of dollars will be made to any holder of an Allowed Claim. Whenever any payment of a
fraction of a dollar to any holder of an Allowed Claim would otherwise be called for, the actual
payment made will reflect a rounding of such fraction to the nearest whole dollar (up or down).

        12.2    Modification of Plan. The Debtor reserves the right, in accordance with the
Bankruptcy Code, to amend or modify the Plan prior to the entry of the Confirmation Order. After
the entry of the Confirmation Order, the Debtor may, upon order of the Bankruptcy Court, amend or
modify the Plan in accordance with Section 1127(b) of the Bankruptcy Code, or remedy any defect
or omission or reconcile any inconsistency in the Plan in such manner as may be necessary to carry
out the purpose and intent of the Plan.

        12.3    Withdrawal of Plan. The Debtor reserves the right, at any time prior to entry of the
Confirmation Order, to revoke or withdraw the Plan. If the Debtor revokes or withdraws the Plan
under this Section 12.3 or if the Effective Date does not occur, then the Plan shall be deemed null and
void. In that event, nothing contained in the Plan shall be deemed to constitute a waiver or release of
any Claims by or against the Debtor or any other person, or to prejudice in any manner the rights of
the Debtor or any other person in any further proceedings involving the Debtor.

        12.4    Governing Law. Except to the extent the Bankruptcy Code or the Bankruptcy Rules
are applicable, the rights and obligations arising under the Plan shall be governed by, and construed
and enforced in accordance with the laws of the State of Alabama, without giving effect to the
principles of conflicts of law thereof.

        12.5    Time. In computing any period of time prescribed or allowed by this Plan, the day of
the act, event, or default from which the designated period of time begins to run shall not be
included. The last day of the period so computed shall be included, unless it is not a Business Day or,
when the act to be done is the filing of a paper in court, a day on which weather or other conditions
have made the clerk's office inaccessible, in which event the period runs until the end of the next day
which is not one of the aforementioned days. When the period of time prescribed or allowed is less
than eight days, intermediate days that are not Business Days shall be excluded in the computation.




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        12.6    Payment Dates. Whenever any payment to be made under the Plan is due on a day
other than a Business Day, such payment will instead be made, without interest, on the next Business
Day.

        12.7    Headings. The headings used in this Plan are inserted for convenience only and do
not constitute a portion of the Plan or in any manner affect the provisions of the Plan.

        12.8    Successors and Assigns. The rights, benefits and obligations of any entity named or
referred to in the Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such entity.

        12.9    Severability of Plan Provisions. If prior to Confirmation any term or provision of the
Plan, which does not govern the treatment of Claims or Interests or the conditions of the Effective
Date, is held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court
shall have the power to alter and interpret such term or provision to make it valid or enforceable to
the maximum extent practicable, consistent with the original purpose of the term or provision held to
be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of the
terms and provisions of the Plan will remain in full force and effect and will in no way be affected,
impaired, or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as it
may have been altered or interpreted in accordance with the foregoing, is valid and enforceable
pursuant to its terms.

        12.10 No Admissions. Notwithstanding anything herein to the contrary, nothing contained
in the Plan shall be deemed as an admission by the Debtor with respect to any matter set forth herein,
including, without limitation, liability on any Claim or the propriety of any Claims classification.

        12.11 Notices. Notices to be provided under this Plan must be transmitted in writing to the
Debtor at both addresses that follow:

        Primary Providers of Alabama, Inc.
        c/o Their Attorneys
        SPARKMAN, SHEPARD & MORRIS, P.C.
        P.O. Box 19045
        Huntsville, AL 35804

                and




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        Primary Providers of Alabama, Inc.
        1878 Jeff Rd, Ste G
        Huntsville, AL 35806




        Respectfully submitted this the 9th day of September, 2019.


                                              PRIMARY PROVIDERS OF ALABAMA, INC.


                                              /s/ Jason Allman
                                              Jason Allman, President


                                              /s/ Tazewell T. Shepard III
                                              Tazewell T. Shepard III
                                              Tazewell T. Shepard IV
                                              Attorneys for the Debtor

                                              SPARKMAN, SHEPARD & MORRIS, P.C.
                                              P. O. Box 19045
                                              Huntsville, AL 35804
                                              Tel: (256) 512-9924
                                              Fax: (256) 512-9837



                                 CERTIFICATE OF SERVICE

        This is to certify that this the 9th day of September, 2019, I have this day served the
foregoing motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix
and Richard Blythe, Office of the Bankruptcy Administrator, by electronic service through the
Court’s CM/ECF system and/or by placing a copy of same in the United States Mail, postage pre-
paid.


                                              /s/ Tazewell T. Shepard III
                                              OF COUNSEL




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